                                                                           19-82531-CRJ-11-Page 1

                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 IN RE:                                           )           BANKRUPTCY CASE NO.
                                                  )
        MDM HOLDINGS, INC.                        )           19-82531-CRJ-11
                                                  )
                                                  )           CHAPTER 11
                        DEBTOR(s).                )


                         CHAPTER 11 OPERATING PROCEDURES

              A. MEETING WITH THE BANKRUPTCY ADMINISTRATOR

        The debtor shall meet with the Bankruptcy Administrator at a Date and Time established by
 the Bankruptcy Administrator.

               Date:           September 24, 2019
               Time:           1:00 pm
               Place:          Seybourn H. Lynne Federal Building
                               400 Well Street, Cain Street Entrance
                               Room 236
                               Decatur, AL 35601

                                  B. BOOKS AND RECORDS

 1.     New books and records must have been opened on the date the Chapter 11 petition was filed.
        If they were not, they must be opened upon receipt of these Procedures, unless otherwise
        ordered by this Court. The debtor must then close all of its old books and records, reconciled
        as of the day preceding the filing of the bankruptcy petition.

 2.     A schedule of all depreciable assets shall be provided to the Bankruptcy Administrator no
        later than the date of the scheduled meeting with the Bankruptcy Administrator. The
        schedule should include:

        a.     A description of the asset;
        b.     Method of depreciation;
        c.     Serial number;
        d.     Date purchased;
        e.     Useful life;
        f.     Purchase price;




Case 19-82531-CRJ11        Doc 29    Filed 09/03/19 Entered 09/03/19 08:45:26              Desc Main
                                    Document     Page 1 of 6
                                                                            19-82531-CRJ-11-Page 2

        g.      Accumulated depreciation; and
        h.      Scrap value.

                                   C. NEW BANK ACCOUNTS

         Necessary new bank accounts must have been opened on the date the Chapter 11 petition was
 filed. If they were not, they must be opened upon receipt of these Procedures, unless otherwise
 ordered by this Court. The debtor must then close all old bank accounts, reconciled as of the day
 preceding the filing of the bankruptcy petition.

        When new accounts are set up:

                The words “Chapter 11 Debtor-In-Possession - Bankruptcy Case No.
                19-82531-CRJ-11 ," must be written on all account signature cards.

                            D. PROOF OF NEW BANK ACCOUNTS

       When the debtor opens a new account, the debtor must file the following items with the
 Bankruptcy Clerk’s Office no later than the date of the scheduled meeting with the Bankruptcy
 Administrator:

        1.      The first check from the new account;

        2.      A copy of a signature card for every account in use after the date of filing the
                bankruptcy petition bearing the words “Chapter 11 Debtor-In-Possession -
                Bankruptcy Case No. 19-82531-CRJ-11;" and

        3.      A reconciled bank statement for every account in use before the filing of the
                bankruptcy petition.

                   E. BANK ACCOUNT INSURANCE OR COLLATERAL

         The Federal Deposit Insurance Corporation (FDIC) insures its depositors (here Debtors-in-
 Possession) for $250,000. This maximum amount is applied to each depositor by each insured
 institution. It does not apply to each account. Therefore, insurance is not increased merely by
 dividing funds among different accounts in the same institution.

         If the debtor-in-possession has one or more accounts in any single institution where the total
 amount on deposit exceeds $250,000, the debtor-in-possession must either open another account in
 a separate bank or require from the institution holding these funds a bond or the deposit of securities
 with the Federal Reserve Bank, equal to the difference in the amount on deposit and $250,000 as
 required by 11 U.S.C. § 345. This should be done by the debtor immediately. Form No. BA-40(11),
 attached to these Procedures, should be used to complete this process. After the depository




Case 19-82531-CRJ11         Doc 29    Filed 09/03/19 Entered 09/03/19 08:45:26               Desc Main
                                     Document     Page 2 of 6
                                                                            19-82531-CRJ-11-Page 3

 completes the form, it must be filed with the Bankruptcy Clerk’s Office.

                                     F. BANK STATEMENTS

          The debtor-in-possession must file with the Bankruptcy Clerk’s Office a copy of its monthly
 bank statement, or statements if it has more than one account. The statement must be filed along
 with the Chapter 11 operating reports described in Paragraph K on a monthly basis and must be the
 statement for the month covered by the monthly operating reports. If the debtor does not receive
 its statement from its bank by the 15th day of the month so that the debtor is able to file it with the
 operating reports, the statement must be filed by the last working day of that month.

          G. POST-PETITION TAXES, PAYROLL ACCOUNTS, AND LICENSES

        1.      Within three work days after each regular payroll period, the debtor is
                required to pay to the Internal Revenue Service withheld or collected taxes
                in the form of a Federal Tax Deposit.

        2.      Within three work days after each regular quarterly period, the debtor is
                required to pay to the Internal Revenue Service the federal unemployment tax
                in the form of a Federal Tax Deposit.

        3.      If the debtor is an individual required to make quarterly tax estimate
                payments, those payments should be made when due.

        4.      State and local sales taxes will be paid to the taxing authorities per their
                existing regulations in a timely manner.

        5.      The debtor shall keep current all business licenses and permits and shall
                furnish the Bankruptcy Administrator with copies of the current licenses and
                provide copies of all renewed licenses as they are renewed.

                                          H. INSURANCE

        1.      The debtor shall insure all business-related property of the estate which
                would customarily be insured in the business engaged in by the debtor or
                non-business property which would customarily be insured by the debtor or
                persons in circumstances similar to those of the debtor in the area where the
                property is kept or utilized. If insurance is not maintained on property of a
                substantial value, the debtor must file a verified statement explaining why the
                asset is uninsured and serve a copy of the statement on each creditor who has
                a security interest in the uninsured property, if any. If workers’
                compensation insurance is required by law, the debtor shall maintain said
                insurance in full force and effect.




Case 19-82531-CRJ11         Doc 29    Filed 09/03/19 Entered 09/03/19 08:45:26               Desc Main
                                     Document     Page 3 of 6
                                                                              19-82531-CRJ-11-Page 4


        2.      By the date of the scheduled meeting with the Bankruptcy Administrator, the
                debtor shall file with the Bankruptcy Clerk’s Office copies of all of its
                insurance policies or a list of all of its insurance policies. If a list is filed,
                each policy should be described to include:

                a.      Policy number;
                b.      Name of the insured;
                c.      A general description of the property insured;
                d.      The beneficiary;
                e.      Name and address of the insuring agent;
                f.      Amount of coverage;
                g.      Type of insurance;
                h.      Date of expiration;
                i.      Amount of premium;
                j.      Insurance carrier; and
                k.      Premium due date.

        3.      If a notice of cancellation or of non-renewal is given on any of the debtor’s
                insurance policies, or the debtor chooses not to renew any policy, the debtor
                shall notify the Bankruptcy Administrator in writing no later than three days
                after receipt of the notice or after deciding not to renew.

                     I. COPIES TO THE BANKRUPTCY ADMINISTRATOR

        The debtor shall provide the Bankruptcy Administrator with copies of motions to employ
 professionals, applications for compensation and expenses, and all plans and disclosure statements.

                       J. INSPECTION OF PROPERTY AND RECORDS

        The debtor shall permit the Bankruptcy Administrator reasonable inspection of its premises,
 properties, books, and records.

                                    K. FINANCIAL REPORTS

         A debtor-in-possession shall file with the Clerk, not later than the 15th day of the next
 succeeding month, an operating report for each month or part of a month after the entry of an order
 for relief under Chapter 11, Title 11, of the United States Code, which accurately reflects, in
 reasonable detail, the business transacted by the debtor and the results thereof and the condition of
 the bankruptcy estate and its assets.

        A debtor-in-possession shall file with the Clerk, not later than the 15th day of the month
 following each calendar quarter, a similar report for the immediately preceding quarter or part of a




Case 19-82531-CRJ11         Doc 29    Filed 09/03/19 Entered 09/03/19 08:45:26                 Desc Main
                                     Document     Page 4 of 6
                                                                              19-82531-CRJ-11-Page 5

 quarter after entry of such order for relief.

         By the 15th day of each month following entry of an order confirming a Chapter 11 plan, the
 debtor shall file with the Clerk a report for the preceding calendar month showing the steps taken
 toward consummation of the plan and any failure(s) by the debtor to comply with the terms of the
 plan, and as soon as is reasonably practicable and appropriate the debtor shall file with the Clerk a
 motion for a final decree, as provided for in Bankruptcy Rule 3022.

        The Bankruptcy Administrator may prescribe suitable forms for obtaining this information,
 giving consideration to clarity and simplicity.

                                  L. 120 DAY REPORT ON PLAN

          If a plan of reorganization has not been filed, the debtor-in-possession shall file on the 120th
 day after the order for relief in a Chapter 11 case, a report to the Court explaining why a plan and
 disclosure statement have not been filed, and shall describe what preparations are being undertaken
 to file those documents, and shall specify a date when they will be filed.


                                    M. STATUS CONFERENCE

        Status conferences may be set by the Bankruptcy Administrator with the debtor in the
 Bankruptcy Administrator’s office for reviews and clarifications of financial reports, bank
 statements, tax payments, licenses, permits, and insurance coverage of the debtor.

                              N. MISCELLANEOUS PROVISIONS

         1.      References in these Procedures to “Bankruptcy Administrator” include
                 persons the Bankruptcy Administrator may designate.

         2.      All documents to be filed with or served on the Bankruptcy Administrator
                 shall be delivered to the Bankruptcy Administrator divisional office where
                 the case is pending.

         3.      All documents to be filed with or served on the Bankruptcy Clerk shall be
                 delivered to the divisional office of the Clerk where the case is pending.

         4.      The debtor shall provide the chairperson of any committee appointed by the
                 Court in this case copies of all documents required to be filed with or served
                 on the Bankruptcy Administrator or the Bankruptcy Clerk.

        These Procedures do not relieve the debtor of any requirements of the bankruptcy statutes
 or Bankruptcy Rules.




Case 19-82531-CRJ11          Doc 29    Filed 09/03/19 Entered 09/03/19 08:45:26                Desc Main
                                      Document     Page 5 of 6
                                                                         19-82531-CRJ-11-Page 6

 Respectfully submitted on this the 3rd day of September, 2019.

                                              J. THOMAS CORBETT
                                              United States Bankruptcy Administrator for the
                                              Northern District of Alabama

                                              BY:     /s/ Richard M. Blythe
                                                      Richard M. Blythe
                                                      Assistant U.S. Bankruptcy Administrator
                                                      Alabama. Bar ID: ASB-3199-B52R

 OF COUNSEL:
 United States Bankruptcy Administrator
 Northern District of Alabama
 Seybourn H. Lynne Federal Building
 Post Office Box 3045
 400 Well Street NE, Room 236
 Decatur, Alabama 35602
 (256) 340-2740

                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 3, 2019, I have served a copy of the foregoing on the
 parties listed below by depositing the same in the United States Mail, postage prepaid and properly
 addressed, or if the party being served is a registered participant in the CM/ECF System for the
 United States Bankruptcy Court for the Northern District of Alabama, service has been made by a
 "Notice of Electronic Filing" pursuant to FRBP 9036 in accordance with subparagraph II.B.4. of the
 Court's Administrative Procedures.


                                              /s/ Richard M. Blythe
                                              Richard M. Blythe
                                              Assistant U.S. Bankruptcy Administrator


 MDM Holdings, Inc.
 Michael McKeon
 143 Foxhound Drive
 Madison, AL 35758

 Tazewell Shepard
 Tazewell Shepard PC
 PO Box 19045
 Huntsville, AL 35804



Case 19-82531-CRJ11        Doc 29    Filed 09/03/19 Entered 09/03/19 08:45:26             Desc Main
                                    Document     Page 6 of 6
